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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 21-cv-20418-CMA

  RICKY AGUILERA,

          Plaintiff,

  vs.

  THE GREENS AND FLOWERS CONNECTION, LLC,
  JONATHAN A. NUNEZ, individually, and
  JONATHAN L. VALLADARES, individually,

        Defendants.
  ___________________________________/

        JOINT MOTION FOR APPROVAL OF PARTIES’ SETTLEMENT AGREEMENT

          Plaintiff RICKY AGUILERA (“Plaintiff”) and Defendants THE GREENS AND

  FLOWERS CONNECTION, LLC, JONATHAN A. NUNEZ, individually, and JONATHAN

  L. VALLADARES, individually, (“Defendants”)(collectively the “Parties”), by and through their

  respective undersigned counsel, hereby file this Joint Motion for Approval of Parties’ Settlement

  Agreement in this Fair Labor Standards Act (“FLSA”) case, with the Court reserving jurisdiction to

  make a ruling on Plaintiff’s counsel’s attorneys’ fees and costs (if an agreement cannot be reached),

  and to enforce the terms of the settlement agreement, and in support jointly state the following:

          1.      On February 1, 2021, Plaintiff filed his Complaint against Defendants before this

  Honorable Court. [DE 1]. In the Complaint, Plaintiff seeks, pursuant to the FLSA, recovery of

  unpaid overtime wages alleged to have incurred during the course of employment with Defendants.

          2.      Defendants deny Plaintiff’s allegations of unpaid overtime wages. Defendants

  contend that they fully complied with the FLSA, that Plaintiff was paid for all hours worked, that

  no damages are due and owing as Plaintiff was exempt from the FLSA, and that Plaintiff failed to




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  complain or otherwise bring to Defendants’ attention any wage and hour issues. Defendants further

  dispute liability and deny any wrongdoing in connection with Plaintiff’s claims.

         3.      On April 21, 2021, the Parties appeared at a Settlement Conference before Magistrate

  Judge Edwin G. Torres.

         4.      To avoid the costs and uncertainty of litigation, however, the Parties have negotiated

  a resolution of this matter during the course of the Settlement Conference and resolved this action

  in its entirety pursuant to a Settlement Agreement.

         5.      Pursuant to Lynn’s Food Stores, Inc. v. U.S, 679 F.2d 1350 (11th Cir. 1982), FLSA

  claims may be settled only with the approval of the Court or the Secretary of Labor. An employee

  may settle and release FLSA claims against his employer without the supervision of the Secretary

  of Labor if all of the following conditions are met: (1) the settlement occurs in an adversarial context;

  (2) there are issues of FLSA coverage and/or computations actually in dispute; and (3) the district

  court enters an order approving the settlement after scrutinizing the fairness of the settlement. Id.

  at 1354. “The district court may enter a stipulated judgment after scrutinizing the settlement for

  fairness.” Id. at 1353. In this case, no complaint was filed with the U.S. Department of Labor.

  Accordingly, the Mediated Settlement Agreement must be submitted to the Court for approval.

         6.      The settlement between Plaintiff and Defendants provides for final resolution of

  Plaintiff’s FLSA claims and for entitlement attorneys’ fees and costs which were negotiated

  separately from Plaintiff’s claims.

         7.      The Parties stipulate that: the negotiated settlement reached between the Parties

  represents a “fair” resolution of Plaintiff’s FLSA claims and Plaintiff’s attorneys’ fees and costs. In

  resolving this matter, Plaintiff accepted zero dollars for his FLSA claims, but did negotiate for a

  complete and full release from his non-compete term entered into with Defendants at the start of his

  employment. The tangible worth of Plaintiff’s complete and full release from his non-compete term



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  is far and away more valuable than his FLSA claims, even if Plaintiff received all of his alleged

  wages and liquidated damages. As such, Plaintiff was motivated to resolve this matter. Next, the

  settlement reached between them advances judicial economy. Third, entitlement to and the

  calculation of, attorney’s fees were negotiated separately from damages and resolution for Plaintiff.

  Counsel for the Parties will be conferring on Plaintiff’s counsel’s attorneys’ fees and costs to try to

  resolve the amounts without Court intervention. If Counsel for the Parties are unable to come to an

  agreement, the appropriate Motion will be filed. Finally, the Parties agree that the terms of the

  Settlement Agreement constitute a fair and reasonable settlement of a bona fide dispute.

         8.      A copy of the Parties’ settlement agreement is attached hereto. See Exhibit A.

         9.      A proposed Order granting this Joint Motion will be filed simultaneously.

                                     MEMORANDUM OF LAW

  I.     LEGAL FRAMEWORK

         There are two ways in which claims under the FLSA can be settled and released by

  employees. First, 216(c) of the FLSA allows employees to settle and waive their claims under the

  FLSA if the payment of unpaid wages by the employer to the employee is supervised by the

  Secretary of Labor. See 29 U.S.C. 216(c); Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350,

  1353 (11th Cir. 1982). Second, in the context of a private lawsuit brought by an employee against

  an employer under section 216(b) of the FLSA, an employee may settle and release FLSA claims

  against an employer if the parties present the court with a proposed settlement and the court enters

  a stipulated judgment approving the fairness of the settlement. Id.; see also Sculte, Inc. v. Gandi,

  328 U.S. 108, 66 S. Ct. 925, 928 n. 8, 90 L. Ed. 1114 (1946); Jarrad v. Southeastern Shipbuilding

  Corp., 163 F.2d 960, 961 (5th Cir. 1947). The Eleventh Circuit has stated that the circumstances

  justifying court approval of an FLSA settlement in a litigation context are as follows:




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          Settlements may be permissible in the context of a suit brought by employees under
          the FLSA for back wages because initiation of the action by the employees provides
          some assurance of an adversarial context. The employees are likely to be represented
          by an attorney who can protect their rights under the statute. Thus, when the parties
          submit a settlement to the court for approval, the settlement is more likely to reflect a
          reasonable compromise of disputed issues than a mere waiver of statutory rights
          brought by an employer’s overreaching. If a settlement in an employee FLSA suit
          does reflect a reasonable compromise over issues, such as FLSA coverage or
          computation of back wages that are actually in dispute, we allow the district court to
          approve the settlement in order to promote the policy of encouraging settlement of
          litigation.

  Lynn’s Food Stores, 679 F.2d at 1354.

         The Court should be mindful of the strong presumption in favor of finding a settlement fair.

  Hamilton, 2007 U.S. Dist. LEXIS at *2-3. Dail v. George A. Arab, Inc., 391 F. Supp. 2d 1142, 1146

  (M.D. Fla. 2005); Camp v. Progressive Corp., 2004 U.S. Dist. LEXIS 19172 (E.D. La. Sept. 23,

  2004)(there is a “strong presumption in favor of finding a settlement fair)(citing Cotton v. Hinton,

  559 F.2d 1326, 1331 (5th Cir. 1977)); See also Schottborgh v. Motor Car Concepts, II, Inc., 2009

  WL 4730615, at *2 (M.D. Fla. Dec. 9, 2009) (“The Court should be mindful of the strong

  presumption in favor of finding a settlement fair.”)

   II.   THE OBSTACLES FACED BY PLAINTIFF

         Plaintiff’s recovery in this matter is very significant in light of the various legal barriers he

  would have to overcome to attain any financial recovery whatsoever.

         A. First Obstacle: Independent Contractor Issue

         Defendants first, and primarily, argued that Plaintiff is barred any recovery based on his

  designation as an exempt Outside Sales employee. If Plaintiff proceeded with this litigation and it

  was determined he was properly designated as an exempt Outside Sales employee, then he would

  recover zero dollars and be subject to a potential costs’ judgment upon a finding of that designation.

  As such, Plaintiff’s ultimately result was extremely advantageous given this potential circumstance

  of zero dollars in damages.



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          B. Second Obstacle: Defendants’ Maintenance of Work Records

          In this matter, Defendants contend that Plaintiff’s records are sufficient and convincing, such

  as biometric time logs, text messages, and surveillance video, to show that a differing, and

  considerably lower amount of Plaintiff’s work hours. Plaintiff disagreed. The inquiry into hours

  worked would require comparisons of various records, calendars, and videos between the Parties,

  extensive information from third parties, as well as, witness testimony. This document production

  and meticulous re-creation of hours worked would be amplified by party and non-party depositions.

  These factors, in turn, would have fostered a high number of attorneys’ fees and costs for both sides

  to bear. The complexity, expense, and lengthy of litigation heavily weigh in favor of early settlement

  in this case. The proposed settlement minimizes such costs, preserving the parties’ and the Court’s

  time and resources.

          C. Third Obstacle: The Limiting Nature Of Violations That Are Not Deemed Willful

          Assuming Plaintiff was able to evade any limiting defense by the Defendants, Plaintiff would

  be met with another significant obstacle: evidence of willfulness. Proving willfulness in the present

  case would be difficult in light of Defendants’ good-faith belief that Plaintiff was an exempt Outside

  Sales employee and any hours worked were captured and paid. Furthermore, a lack of willfulness

  would further preclude Plaintiff’s ability to recover liquidated damages. This would, in turn, further

  limit the scope of Plaintiff’s recovery by another fifty (50%). This factor was a motivator for

  Plaintiff to resolve this matter.

          D. Fourth Obstacle: Postliminary and Preliminary Work Hours

          The final argument by Defendants is the limiting nature of the Portal-to-Portal Act where

  Plaintiff’s damages, if any, may be reduced if it is determined the work hours sought involve non-

  compensable postliminary and preliminary activities. This, plus the other obstacles cited supra, were

  important motivators in Plaintiff’s decision to resolve this matter.



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 III.     PLAINTIFF’S RECOVERY

          The foregoing legal and factual analysis explains why Plaintiff was eager to accept the

  proposal that was ultimately memorialized through the Settlement Agreement. Plaintiff ran a

  substantial risk of losing this case altogether or, in the alternative, recovery of a small amount of

  damages. Had he lost, Plaintiff would have faced an exposure of a cost judgment being entered

  against his. This was a very beneficial outcome under the circumstances. See Steinhauser v. Elec.

  Energy Sys., Inc., No. 6:08-cv-1518, 2009 WL 1458031 (M.D. Fla. May 26, 2009) (approving

  settlement agreement where “[i]t appeared that further litigation of this case might have resulted in

  no recovery to Plaintiff at all”).

          Importantly, Plaintiff’s recovery in connection to the mediated resolution is incredibly

  valuable to him. By negotiating a release from his non-competition term with Defendants, Plaintiff

  is able to continue work in a field that he is knowledgeable about while also avoiding any potential

  litigation on any alleged breach of the same. Plaintiff’s FLSA claims, assuming he would be able to

  withstand the exemption defense, would have resulted in damages being far less than his original

  belief if the time records, any “convincing substitutes”, the text messages and surveillance videos,

  were considered. Indeed, given those documents and videos, the amount at issue for Plaintiff would

  have been less than in value than what he ultimately gained in resolving his wage & hour claims. In

  other words, Plaintiff’s recovery would have been far worse had he elected to proceed to a jury trial

  rather than resolve during the course of a Settlement Conference. The exchanged discovery and

  additional information occurred post Plaintiff’s initial submission of his Statement of Claim.

  Review of that discovery and information is attributable to the disparity of the initial amount alleged

  to be due and owed, and what was ultimately accepted as a fair and reasonable compromise under

  the circumstances. The Parties submit the settlement is reasonable. A copy of the Parties’ fully

  executed Settlement Agreement will be submitted to this Honorable Court for review.



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 IV.     PLAINTIFF’S ATTORNEYS’ FEES AND COSTS

         In a suit brought by employees under the FLSA, the Court must determine whether the

  settlement “is a fair and reasonable resolution.” See Lynn’s Food., 679 F.2d at 1352-53. at 1354. In

  doing so, the Court considers such factors as “(1) existence of fraud; (2) complexity of the case; (3)

  the point of the proceedings when the settlement occurs; (4) the probability of success on the merits;

  (5) the range of possible recovery; and (6) counsel's opinion.” McHone v. Donald P. Hoekstra

  Plumbing, Inc., No. 10-60322-CIV, 2010 WL 4625999, at *1 (S.D. Fla. Nov. 4, 2010) (citing Dees

  v. Hydradry, Inc., 706 F. Supp. 2d 1227, 1241 (M.D. Fla. 2010)); see also Leverso v. SouthTrust

  Bank of Ala., Nat'l Ass'n., 18 F.3d 1527, 1530 n.6 (11th Cir. 1994). The “FLSA requires judicial

  review of the reasonableness of counsel's legal fees to assure both that counsel is compensated

  adequately and that no conflict of interest taints the amount the wronged employee recovers under

  a settlement agreement.” Silva v. Miller, 307 F. App'x 349, 351 (11th Cir. 2009).

         A. The Issue Of Attorneys’ Fees And Costs Were Separately Negotiated.

         As part of the resolution of this matter, Defendants agreed that Plaintiff’s counsel are entitled

  to their attorneys’ fees and costs and the amount of attorneys’ fees and costs will be determined

  either by agreement between the Parties or, if no agreement can be reached, via the appropriate filing

  of a motion. The Parties represent that Plaintiff’s attorneys’ fees and costs were, at all times,

  considered and negotiated separately from the amounts claimed by Plaintiff for his underlying

  claims and are not a function of any percentage of recovery. As the Court explained in Bonetti v.

  Embarq Management Co., 2009 U.S. Dist. LEXIS 68075 at *11-12 (M.D. Fla. Aug. 4, 2009), where

  a “plaintiff’s attorneys’ fee was agreed upon separately and without regard to the amount paid to the

  plaintiff, then unless the settlement does not appear reasonable on its face or there is reason to

  believe that the plaintiff’s recovery was adversely affected by the amount of fees paid to his attorney,




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  the Court will approve the settlement without separately considering the reasonableness of the fee

  to be paid to plaintiff's counsel.” Bonetti, 2009 U.S. Dist. LEXIS 68075 at *15-16.

           B. Analysis Of Various Factors

           Counsel for the Parties note there is not existence of fraud or collusion in this matter. See

  Helms v. Central Fla. Reg. Hosp., No. 6:05-cv-383-Orl-22JGG, 2006 WL 3858491, at *4 (M.D.

  Fla. Dec. 21, 2006) (no fraud or collusion where both parties were represented by counsel and the

  amount paid to the plaintiff seems fair). The settlement here is the negotiated result of a Settlement

  Conference, which itself is an indication of its fairness, where all Parties were represented by

  competent and experienced counsel.

           This was a disputed FLSA matter involving a number of disputed legal and factual

  arguments. As stated supra, the factual and legal issues included the Outside Sales exemption

  defense, recordkeeping, weeks at issue, and compensable work hour disputes. Moreover, issues

  regarding operational control and liquidated damages would be heavily litigated if this matter did

  not resolve.

           As noted above, the range of recovery in this case was threatened by significant obstacles.

  The Parties strongly dispute the merits of Plaintiff’s claims- making protracted litigation inevitable

  if the proposed settlement is not approved. Accordingly, Plaintiff’s probability of success on the

  merits, and the uncertainty that he would be awarded any amount or what such amount would be,

  further support the proposed compromise and show that this settlement is fair and appropriate. See

  e.g., Fernandez v. A-1 Duran Roofing, Inc., 2013 U.S. Dist. LEXIS 35821 at *2 (S.D. Fla. Feb. 25,

  2013).

           Finally, counsel for both Parties agree this settlement is eminently fair and reasonable given

  the factual and legal disputes discussed in this Motion.




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         WHEREFORE, the parties respectfully request that the Court enter an Order: (1) approving

  the terms of the settlement agreement, (2) keeping the case open until the amount of Plaintiff’s

  attorneys’ fees and costs are agreed to between the Parties or via motion practice, and (3) reserving

  jurisdiction to enforce the terms of the parties’ Settlement Agreement.

  Respectfully submitted on April 28, 2021.


   /s/ Brody M. Shulman__________                    _/s/ Lawrence E. Besser________
   Bayardo E. Aleman, Esq.                           Lawrence E. Besser, Esq.
   Florida Bar No. 28791                             FL Bar No: 0236268
   E-mail: freddy@pba-law.com                        E-mail: lbesseresq@yahoo.com
   Brody M. Shulman, Esq.
   Florida Bar No. 092044
   E-mail: brody@pba-law.com

   PERERA BARNHART ALEMAN, P.A.                      Lawrence E. Besser, P.A.
   12555 Orange Dr.                                  1200 Brickell Avenue
   Suite 207                                         Suite 1950
   Davie, FL, 33330                                  Miami, FL 33131
   Telephone: 786-485-5232                           Tel. 305-577-3873
   Attorneys for Plaintiff                           Counsel for Defendants




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                                    CERTIFICATE OF SERVICE

           I hereby certify that on April 28, 2021, I electronically filed the foregoing document with
  the Clerk of the Court using CM/ECF. I also certify that a true and correct copy of the foregoing
  document was served via transmission of Notices of Electronic Filing generated by CM/ECF or in
  some other authorized manner for those counsel or Parties who are not authorized to receive
  electronically Notices of Electronic Filing on all counsel or Parties of record on the Service List
  below.

                                        By: /s/ Brody M. Shulman
                                        Brody M. Shulman, Esq.




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